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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF MICHIGAN
                               SOUTHERN DIVISION


ANTHONY EDWARD CIAVONE,

                       Plaintiff,                     Case Number: 2:14-CV-11345

v.                                                    HONORABLE SEAN F. COX
                                                      UNITED STATES DISTRICT JUDGE
DAVID ALLEN, ET AL.,

                       Defendants.
                                             /

             ORDER OF SUMMARY DISMISSAL WITHOUT PREJUDICE

I.     Introduction

       Plaintiff Anthony Edward Ciavone, presently confined at the Chippewa

Correctional Facility in Kincheloe, Michigan, has filed a pro se civil rights complaint

pursuant to 42 U.S.C. § 1983. Plaintiff is proceeding without prepayment of the filing fee

for civil actions under 28 U.S.C. § 1915(a)(1). Plaintiff’s claims relate to his 2004

conviction in Wayne County Circuit Court for first-degree premeditated murder. He

alleges that defendants conspired to deny him his right to a competency hearing, a fair

trial, and a fair sentence. Plaintiff names eighteen defendants, state court judges, state

court clerical employees, prosecuting and defense attorneys, medical professionals, the

warden of the prison where he is currently housed, and an assistant attorney general.1

Plaintiff seeks monetary and injunctive relief. For the reasons which follow, the


       1
            These last two listed defendants were added when Plaintiff filed an amended
petition.
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complaint is dismissed for failure to state a claim upon which relief may be granted.

II.    Standard

       Federal Rule of Civil Procedure 8(a) requires that a complaint set forth “a short

and plain statement of the claim showing that the pleader is entitled to relief,” as well as

“a demand for the relief sought.” Fed. R. Civ. P. 8(a)(2), (3). The purpose of this rule is

to “give the defendant fair notice of what the . . . claim is and the grounds upon which it

rests.” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555 (2007) (quoting Conley v. Gibson,

355 U.S. 41, 47 (1957) and Fed. R. Civ. P. 8(a)(2)). While this notice pleading standard

does not require “detailed” factual allegations, Twombly, 550 U.S. at 555, it does require

more than the bare assertion of legal conclusions or “an unadorned, the-

defendant-unlawfully-harmed-me accusation.” Ashcroft v. Iqbal, 556 U.S. 662, 678

(2009). “A pleading that offers ‘labels and conclusions’ or ‘a formulaic recitation of the

elements of a cause of action will not do.’” Id. (quoting Twombly, 550 U.S. at 555).

“Nor does a complaint suffice if it tenders ‘naked assertion[s]’ devoid of ‘further factual

enhancement.’” Id. (quoting Twombly, 550 U.S. at 557).

       Plaintiff has been granted leave to proceed without prepayment of the filing fee for

this action. Under the Prison Litigation Reform Act (“PLRA”), the court is required to

sua sponte dismiss an in forma pauperis complaint before service on a defendant if it

determines that the action is frivolous or malicious, fails to state a claim upon which relief

can be granted, or seeks monetary relief against a defendant who is immune from such

relief. See 42 U.S.C. § 1997e(c); 28 U.S.C. § 1915(e)(2)(B). Similarly, the court is

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required to dismiss a complaint seeking redress against government entities, officers, and

employees that it finds to be frivolous or malicious, fails to state a claim upon which

relief may be granted, or seeks monetary relief from a defendant who is immune from

such relief. See 28 U.S.C. § 1915A(b). A complaint is frivolous if it lacks an arguable

basis in law or in fact. Neitzke v. Williams, 490 U.S. 319, 325 (1989).

       To state a federal civil rights claim, a plaintiff must allege that: (1) he was

deprived of a right, privilege, or immunity secured by the federal Constitution or laws of

the United States, and (2) the deprivation was caused by a person acting under color of

state law. Flagg Bros. v. Brooks, 436 U.S. 149, 155-57 (1978). A pro se civil rights

complaint is to be construed liberally. Haines v. Kerner, 404 U.S. 519, 520-21 (1972).

III.   Discussion

       Plaintiff’s complaint challenges the criminal proceedings leading to his present

incarceration. He alleges that defendants conspired to deny him a fair trial and that the

warden and assistant attorney general are perpetuating his unlawful confinement.

       Plaintiff’s claims are barred by the favorable-termination requirement set forth in

Heck v. Humphrey, 512 U.S. 477 (1994). Under the Heck doctrine, a state prisoner may

not file a § 1983 suit for damages or equitable relief challenging his conviction or

sentence if a ruling on the claim would render the conviction or sentence invalid, until

and unless the conviction or sentence has been reversed on direct appeal, expunged by

executive order, declared invalid by a state tribunal, or called into question by a federal

court’s issuance of a writ of habeas corpus. Id. at 486–87; Wilkinson v. Dotson, 544 U.S.

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74, 81–82 (2005) (“[A] state prisoner’s § 1983 action is barred (absent prior

invalidation)– no matter the relief sought (damages or equitable relief), no matter the

target of the prisoner’s suit (state conduct leading to conviction or internal prison

proceedings) – if success in that action would necessarily demonstrate the invalidity of

confinement or its duration.”). This holds true regardless of the relief sought by the

plaintiff. Heck, 512 U.S. at 487-89. The underlying basis for the holding in Heck is that

“civil tort actions are not appropriate vehicles for challenging the validity of outstanding

criminal judgments.” Heck, 512 U.S. at 486. If Plaintiff were to prevail on his claims

concerning the validity of his criminal proceedings, his conviction and continued

confinement would be called into question. Consequently, such claims are barred by

Heck and must be dismissed. This dismissal is without prejudice.2




       2
         See Hodge v. City of Elyria, 126 F. App’x 222, 223 (6th Cir. 2005) (holding that
a case dismissed pursuant to Heck should be dismissed without prejudice so that plaintiff
may re-assert claims if plaintiff obtains reversal or expungement of convictions).

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                                   IV. Conclusion

      The Court dismisses the complaint without prejudice under 28 U.S.C. §§

1915(e)(2) and 1915A(b) because the claims are barred by Heck v. Humphrey.

      SO ORDERED.


Dated: August 11, 2014                         S/ Sean F. Cox
                                               Sean F. Cox
                                               U. S. District Judge


I hereby certify that on August 11, 2014, the foregoing document was served on counsel
of record via electronic means and upon Anthony Ciavone via First Class mail at the
address below:
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KINCHELOE, MI 49784


                                               S/ J. McCoy
                                               Case Manager




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